Case 2:20-cv-00014-JAW Document 21 Filed 05/08/20 Page 1 of 3                                       PageID #: 145



                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF MAINE
                                       PORTLAND DIVISION


    R.T., an individual,                                   )
                                                           )
                           Plaintiff,                      )
                                                           )    Civil Action No. 2:20-CV-00014-JAW
                  v.                                       )
                                                           )    Judge John A. Woodcock, Jr.
    WYNDHAM HOTELS & RESORTS, INC.                         )    Magistrate Judge John H. Rich III
                                                           )
    and G6 HOSPITALITY, LLC,                               )    STIPULATED NOTICE OF
                                                           )    VOLUNTARY DISMISSAL
                                                           )
                           Defendants.                     )
                                                           )
_____________________________________

                       STIPULATED NOTICE OF VOLUNTARY DISMISSAL

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff R.T. (“Plaintiff’) and Defendants

Wyndham Hotels & Resorts, Inc. (“Wyndham”) and G6 Hospitality, LLC (“G6”), by and

through their undersigned counsel of record, submit the following stipulation with reference to

the following facts:

          1.      Plaintiff filed this case against Wyndham Hotels & Resorts, Inc. and G6

Hospitality, LLC in the District of Maine, Portland Division on January 14, 2020.

          2.      Counsel for Plaintiff R.T. has conferred with counsel for G6 and Wyndham

regarding dismissal of this Action without prejudice.

          3.      All Parties1 have agreed to voluntary dismissal of Plaintiff’s claims against

Defendants without prejudice.

          4.      The Parties request pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) that the claims


1
         Plaintiff’s counsel has conferred with the client regarding voluntary dismissal. Plaintiff R.T. consents to
voluntary dismissal of this Action without prejudice.

                                                           1
Case 2:20-cv-00014-JAW Document 21 Filed 05/08/20 Page 2 of 3                    PageID #: 146



against Wyndham and G6 be dismissed without prejudice.

       5.      Fed. R. Civ. P. 41(a) provides that “the plaintiff may dismiss an action without a

court order by filing a stipulation of dismissal signed by all parties who have appeared.” Fed. R.

Civ. P. 41(a)(1)(A)(ii).

       6.      Plaintiff respectfully requests that all claims asserted in this action against

Wyndham and G6 be dismissed without prejudice.




       Dated: May 8, 2020                              RESPECTFULLY SUBMITTED,


/s/ Kimberly Lambert Adams_______                   /s/ David S. Sager
Kimberly R. Lambert Adams (pro hac vice)            David S. Sager (admitted pro hac vice)
Kathryn L. Avila (pro hac vice)
Levin, Papantonio, Thomas, Mitchell,                DLA Piper LLP (US)
Rafferty & Proctor, P.A.                            51 John F. Kennedy Parkway, Suite 120
316 S. Baylen Street, Suite 600                     Short Hills, New Jersey 07078-2704
Pensacola, FL 32502                                 Tel:      973-520-2550
Tel: 850-435-7000                                   Fax:      973-520-2551
Fax: 850-436-6347
E-mail: kadams@levinlaw.com /                       E-mail: david.sager@us.dlapiper.com
kavila@levinlaw.com
Counsel for Plaintiff R.T.                          Katharine I. Rand
                                                    PIERCE ATWOOD LLP
Teresa Curtin (Maine Bar # 9391)                    Merrill’s Wharf
WEITZ & LUXENBERG, P.C.                             254 Commercial Street
700 Broadway                                        Portland, Maine 04101
New York, NY 10003                                  T: 207-791-1100
Tel: 212-558-5907                                   E-mail: krand@pierceatwood.com
E-mail: tcurtin@weitzlux.com
                                                    Counsel for Defendant
Counsel for Plaintiff R.T.                          Wyndham Hotels & Resorts, Inc.


                                                    /s/ Shannon Dudic
                                                    Shannon Dudic
                                                    DLA PIPER LLP
                                                    2000 Avenue of the Stars, North Tower
                                                    Los Angeles, California 90067
                                                    Tel: 310-595-3078
                                                    Fax: 310-595-3478
                                                    E-mail: shannon.dudic@us.dlapiper.com



                                                2
Case 2:20-cv-00014-JAW Document 21 Filed 05/08/20 Page 3 of 3      PageID #: 147




                                         Robert C. Hatch
                                         Brendan R. O’Rourke
                                         THOMPSON BOWIE & HATCH LLC
                                         415 Congress Street, Fifth Floor
                                         Portland, Maine 04112
                                         T: 207-774-2500
                                         E-mail: rhatch@thompsonbowie.com /
                                         borourke@thompsonbowie.com

                                         Attorneys for Defendant
                                         G6 Hospitality, LLC




                                     3
